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 7
 8                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
 9
10   REACHLOCAL, INC.                           Case No.: 16-CV-1007-R
11
                 Plaintiff,                     PROOF OF SERVICE
12
                                                REGARDING AUGUST 2, 2018,
13         vs.                                  ORDER OF THE COURT
14   PPC CLAIMS LIMITED, et al.
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                 Defendants.
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                                    Proof of Service
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 1                                 PROOF OF SERVICE
 2   I, Scott Lesowitz declare as follows:
 3         1.     On August, 6, 2018, I sent a copy of the Court’s August 2, 2018, order
 4   (doc. no. 194), to Defendants PPC Claim Limited and Kieran Cassidy by (1) e-mail
 5
     to kieranc@trafiki.com, and (2) first class mail to 1st Floor Offices, 132 George
 6
     Lane, South Woodford, London E18 1AY, England.
 7
           I swear under penalty of perjury of the laws of the United States that the
 8
     above is true and correct to the best of my knowledge.
 9
10                                           /s/ Scott Lesowitz____________
     DATED: August 6, 2018                   Scott Lesowitz
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                                        Proof of Service
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